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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )
                                    )                 4:08CR3031
          v.                        )
                                    )
AMY L. McNALLY,                     )
                                    )          MEMORANDUM AND ORDER
                 Defendant.         )
                                    )



     A hearing was held before me this date on allegations made
in the petition for action on conditions of pretrial release,
filing no. 62.    The defendant was present with counsel, and was
advised of her rights.     The defendant admitted the allegations in
the petition.    I therefore find that the allegations of violation
of the order of release are true.


     Regarding disposition, the government sought detention.                I
agree that detention is appropriate.


     IT THEREFORE HEREBY IS ORDERED,
     The previous order of release, filing no. 22, as modified by
filing nos. 33, 40, and 57, is revoked, and the defendant shall
be detained in the custody of the United States Marshal until
further order.

     DATED November 3, 2008.

                                   BY THE COURT:

                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
